           Case 1:17-vv-01579-UNJ Document 54 Filed 10/11/19 Page 1 of 7




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-1579V
                                      Filed: July 24, 2019
                                        UNPUBLISHED


    GAYLE RANDALL,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU); Joint
                                                             Stipulation on Damages;
    SECRETARY OF HEALTH AND                                  Pneumococcal Conjugate Vaccine;
    HUMAN SERVICES,                                          Shoulder Injury Related to Vaccine
                                                             Administration (SIRVA)
                       Respondent.


Mark Theodore Sadaka, Mark T. Sadaka, LLC, Englewood, NJ, for petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

      On October 20, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) in her left shoulder as a result of an Oct 13, 2016
pneumococcal conjugate vaccine.3 Amended Petition at 1; Stipulation, filed July 11,
2019, at ¶¶ 1-4. Petitioner further alleges that the vaccine was administered in the
United States, that she suffered the residual effects of her injury for more than six
1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
3 The Amended Petition also references an influenza vaccine received on October 12, 2016 in petitioner’s
right deltoid; however, petitioner has not provided evidence showing that this vaccination is related to her
left shoulder injury.
           Case 1:17-vv-01579-UNJ Document 54 Filed 10/11/19 Page 2 of 7



months, and that there has been no prior award or settlement of a civil action for
damages on her behalf as a result of her condition. Amended Petition at 1-4;
Stipulation at ¶¶ 3-5. “Respondent denies that petitioner suffered the onset of her
alleged SIRVA within the Table timeframe; denies that the Prevnar-13 vaccine caused
petitioner’s alleged SIRVA or any other injury and further denies that her current
disabilities are a sequela of a vaccine-related injury. ” Stipulation at ¶ 6.

        Nevertheless, on July 11, 2019, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

        A lump sum of $75,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.4

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
Jun 28. 19 02:01 p     Gayle
                      Case   Randall
                           1:17-vv-01579-UNJ                      706-234-3713
                                             Document 54 Filed 10/11/19   Page 3 of 7                     p.1




                             IN THE UNITED STATES COURT OF fEDERAL CLAIMS
                                       OFFICE OF SPECIAL MASTERS


            GAYLE RANDALL.

                             Petitioner,                            No. 17-1579V
                                                                    Chief Special Master Dorsey
             v.                                                     ECF

             SECRETARY OF HEALTH AND
             HUMAN SERVICES,

                             Respondent.



                                                      STIPULATION

                     The parties hereby stipulate to the following matters:

                     l. Petitioner, Gayle Randall, filed a petition for vaccine compensation under the National

            Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine Program"). The

            petition seeks compensation for injuries allegedly related to petitioner's receipt of the Prevnar-13

            pneumococcal conjugate ("Prevnar-13") vaccine, which vaccine is contained in the Vaccine Injury

            Table (the "Table"), 42 C.F.R. § 100.3 (a).

                     2. Petitioner received a Prevnar-13 vaccine on or about October 13, 2016.

                     3. The vaccine was administered within the United States.

                     4. Petitioner alleges 1hat she suffered a Shoulder Injury Related to Vaccine Administration

            ("SIRVA,,) as a consequence oftbe Prevnar-13 immunization she received on or about October

            13, 2016, and further alleges that she suffered the residual effects ofthis injury for more than six

            months.

                     5. Petitioner represents that there has been no prior award or settlement of a civil action

            for damages on her behalf as a result of her condition.

                                                          Page I of5
Jun 28 19 02:02p       Gayle1:17-vv-01579-UNJ
                             Randall                              706-234-3713                             p.2
                      Case                    Document 54 Filed 10/11/19   Page 4 of 7




                   6. Respondent denies that petitioner suffered the onset of her alleged SIRVA within the

          Table timeframe; denies that the Prevnar-13 vaccine caused petitioner's alleged SIRVA or any

          other injury and further denies that her current disabilities are a sequela ofa vaccine-related injury.

                   7. Maintaining their above-stated positions, the parties nevertheless now agree that the

          issues between them shaJl be settled and that a decision should be entered awarding the

           compensation described in paragraph 8 ofthis Stipulation.

                   8. As soon as practicable after an entry of judgment reflecting a decision comistent with

           the terms of this Stipulation, and after petilioner has filed an election to receive compensation

          pursuant to 42 U.S.C. § 300aa-21 (a)(l ), the Secre1ary of Health and Human Services will i~uc the

           following va~ne compensation payment:

                          A lump swn of $75,000.00, in the form of a ch<;clc payable to petitioner,
                          representing compensation for all damages that would be available under 42 U$ .C.
                          § 300aa-15(a).

                   9. As soon as practicable after the entry ofjudgment on entitlement in this case, and after

          petitioner has filed both a proper and timely election to receive compensation pursuant to 42 U.S.C.

           § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings before the

          special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

          petition.

                   10. Petitioner and her attorney represent that they have identified to respondent all known

          sources of payment for items or services for which the Program is not primarily liable under 42

          U.S.C. § 300aa-1S(g), including State compensation programs, insurance policies, Federal or State

          health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C. § 1396 et

          seq.)), or entities that provide health services on a prepaid basis.




                                                       Page2of5
Jun 2~ 19 02:02p      Gayle
                    Case    Randall
                         1:17-vv-01579-UNJ                      706-234-3713
                                           Document 54 Filed 10/11/19   Page 5 of 7                       p.3




                   11. Payment made pursuant to paragraph 8 of this Stipulation and any amounts awarded

          pursuant to paragraph 9 will be made in accordance with 42 U.S.C. § 300aa-15(i), subject to the

          availability of sufficient statutory funds.

                   12. The parties and their attorneys further agree and stipulate that. except for any award

          for attomey's fees and litigation costs, the money provided pursuant to this Stipulation will be used

          solely for the benefit of petitioner as contemplated by a strict construction of 42 U.S.C. § 300aa-

           15(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

                   13. In return for the payments described in paragraphs 8 and 9, petitioner, in her individual

          capacity, and on behalf of her heirs, executors, admini.51:rators, successors, and assigns, does

           forever irrevocably and unconditionally release, acquit and discharge the United States and the

           Secretary of Health and Human Services from any and all actions or causes of action {including

           agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

           kind or nature) that have been brought, could have been brought, or could be timely brought in the

           United States Court of Federal Claims, under the National Vaccine Injury Compensation Program,

           42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and al] koown or

           unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

           alleged to have resulted from, the Prevnar-13 vaccination administered on or about October 13

           2016, as alleged by petitioner in a petition for vaccine compensation filed on or about October 20,

           2017 in the United States Court of Federal Claims as petition ~o. 17-1579V.

                   14. lf petitioner should die prior to entry of judgmen~ this agreement shall be voidable

           upon proper notice to the Court on behalf of either or both of the parties.

                   15. If the special master fails to issue a decision in complete conformity with the terms of

           this Stipulation or if the United States Court of Federal Claims fails to enter judgment in



                                                        Page3 of5
Jun 28 19 02:02p     Gayle1:17-vv-01579-UNJ
                           Randall                              706-234-3713                                p.4
                    Case                    Document 54 Filed 10/11/19   Page 6 of 7




          conformity with a decision that is in complete confonnity with the terms of this Stipulation, then

           the parties' settlement and this Stipulation shall be voidable at the sole discre1ion of either party.

                   16. This Stipulation expresses a full and complete negotiated settlement of liability and

           damages claimed under the National Childhood Vaccine Injury Act. of 1986, as amended, except

           as otherwise noted in paragraph 9 above. 1bere is absolutely no agreement on the part of the

           parties hereto to make ~Y payment or do any act or tlung other than is herein expressly stated and

           clearly agreed to. The parties further agree and understand that the award described in this

           Stipulation may reflect a compromise of the parties~ respective positions as to liability and/or

           amount of damages, and further, that a change in the nature of the injury or condition or in the

           items of compensation sought, is not grounds to modify or revise this agreement

                   17. This Stipulation shall not be construed as an admission by the United States or the

           Secretary of Health and Human Services that the Prevnar-13 vaccine caused petitioners alleged

           SJRVA or any other injury or any of her cunent disabilities..

                   18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

           heirs, executors~ administrators, successors, and/or assigns.

                                                 END OF STIPULATION




                                                         Page4 of5
. Jun 2819 02:03p      Gayle Randall                                    706-234-3 713        p.5
                    Case 1:17-vv-01579-UNJ Document 54 Filed 10/11/19 Page 7 of 7




            Respectfully submitted,




            ATTORNEY OF RECORD FOR                            AUTHORIZED REPRESENTATIVE
            PETITIONER:                                       OF THE ATTORNEY GENERAL:



            MARKT. SADAK.A
                                                              ~       RINE E. REEVES
                                                                                        tr--
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            AUTHORIZED REPRESENTATIVE OF                      ATTORNEY OF RECORD FOR
            THE SECRETARY OF HEALTH AND                       RESPONDENT:
            BUMAN SERVICES:



            NARAYAN NAIR, M.D.
            Director, Division of
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                                                  Page 5of5
